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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-06-441-GEB
 9
                                                     )
                                                     )
10           Plaintiff,                              )       STIPULATION REGARDING
                                                     )       EXCLUDABLE TIME PERIODS
11
     v.                                              )       UNDER SPEEDY TRIAL ACT;
                                                     )       FINDINGS AND ORDER
12
     RICARDO VENEGAS and                             )
                                                     )
13   VIRGILIO PINEDA,                                )       Date: December 7, 2012
                                                     )       Time: 9:00 a.m.
14
             Defendants.                             )       Judge: Honorable Garland E. Burrell, Jr.
                                                     )
15
                                                     )
16

17
             The United States of America through its undersigned counsel, Jill Thomas, Assistant
18

19   United States Attorney, together with counsel for defendant Ricardo Venegas, John R. Manning,

20   Esq., and counsel for defendant Virgilio Pineda, David Fischer, Esq., hereby stipulate the
21
     following:
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          1. By previous order, this matter was set for status conference on October 19, 2012.
23

24
          2. By this stipulation, defendants now move to continue the status conference until

25   December 7, 2012 and to exclude time between October 19, 2012 and December 7, 2012 under
26
     the Local CodeT-4 (to allow defense counsel time to prepare).
27
          3. The parties agree and stipulate, and request the Court find the following:
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                                                         1
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     a. Counsel for the defendants need additional time to review the discovery, conduct
 1

 2      investigation, and interview potential witnesses.

 3   b. This court has approved funding for Dayle Carlson, sentencing expert. Mr. Carlson is
 4
        reviewing the discovery; indictment; proposed plea agreement; meeting with counsel
 5
        and Mr. Venegas to discuss potential mitigation issues. Counsel for Mr. Venegas
 6

 7
        will, additionally, be filing (via separate motion) a stipulation requesting USPO

 8      prepare a pre-plea PSR.
 9   c. Counsel for Mr. Pineda was relatively recently appointed and needs additional time to
10
        review the discovery and conduct investigation.
11
     d. Counsel for defendants believe the failure to grant a continuance in this case would
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13      deny defense counsel reasonable time necessary for effective preparation, taking into

14      account the exercise of due diligence.
15
     e. The Government does not object to the continuance.
16
     f. Based on the above-stated findings, the ends of justice served by granting the
17
        requested continuance outweigh the best interests of the public and the defendants in
18

19      a speedy trial within the original date prescribed by the Speedy Trial Act.

20   g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
21
        Section 3161(h)(7)(A) within which trial must commence, the time period of October
22
        19, 2012 to December 7, 2012, inclusive, is deemed excludable pursuant to 18 United
23
        States Code Section 3161(h)(7)(A) ) and (B)(ii) and (iv), corresponding to Local
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25      Code T-4 because it results from a continuance granted by the Court at defendant’s

26      request on the basis of the Court’s finding that the ends of justice served by taking
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                                Case 2:06-cr-00441-DAD Document 474 Filed 10/19/12 Page 3 of 3


                                  such action outweigh the best interest of the public and the defendant in a speedy
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 2                                trial.

 3                         4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4
     Speedy Trial Act dictate that additional time periods are excludable from the period within which
 5
     a trial must commence.
 6

 7
                           IT IS SO STIPULATED.

 8   Dated: October 17, 2012                                                         /s/ John R. Manning
                                                                                    JOHN R. MANNING
 9                                                                                  Attorney for Defendant
10
                                                                                    Ricardon Venegas

11   Dated: October 17, 2012                                                        /s/ David Fischer
                                                                                    DAVID FISCHER
12
                                                                                    Attorney for Defendant
13                                                                                  Virgilio Pineda

14
     Dated: October 17, 2012                                                        Benjamin B. Wagner
15
                                                                                    United States Attorney
16
                                                                            by:     /s/ Jill Thomas
17                                                                                  JILL THOMAS
                                                                                    Assistant U.S. Attorney
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19

20
                                                                    ORDER
21

22                            IT IS SO FOUND AND ORDERED.
23   Date: 10/18/2012
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                                                               ___________________________________
25
                                                               GARLAND E. BURRELL, JR.
26
     DEAC_Signature-END:
                                                               Senior United States District Judge
27

28   61khh4bb



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